           Case 1:16-cv-09526-VEC Document 98 Filed 10/16/20 Page 1 of 1

                                                                                USDC SDNY
                                                                                DOCUMENT
                                                                                ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                                DOC #:
SOUTHERN DISTRICT OF NEW YORK
                                                                                DATE FILED: 10/16/2020
 -------------------------------------------------------------- X
 DIVERSE PARTNERS, LP, and TROY BANK & :
 TRUST COMPANY, individually and on behalf of :
 all others similarly situated,                                 :
                                                                :    16-CV-9526 (VEC) (KNF)
                                              Plaintiffs,       :
                                                                :           ORDER
                            -against-                           :
                                                                :
 AGRIBANK, FCB,                                                 :
                                                                :
                                              Defendant. :
 -------------------------------------------------------------- X
VALERIE CAPRONI, United States District Judge:

        WHEREAS on March 25, 2020, in light of the ongoing COVID-19 pandemic, the Court

adjourned sine die the bench trial and Final Pretrial Conference in this case (Dkt. 90);

        WHEREAS the parties have filed all pretrial submissions;

        WHEREAS trials have resumed in the Southern District of New York; and

        WHEREAS the Court has tentatively scheduled a bench trial to begin on December 7,

2020;

        IT IS HEREBY ORDERED that the Court will hold a teleconference with the parties on

October 20, 2020, at 11:00 a.m. to discuss the proposed trial date and logistical considerations.

The parties may dial-in to the teleconference using (888) 363-4749 // Access code: 3121171# //

Security code: 9526#.



SO ORDERED.
                                                              _________________________________
Date: October 16, 2020                                        VALERIE CAPRONI
      New York, New York                                      United States District Judge
